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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HISTORY ASSOCIATES INCORPORATED,

                      Plaintiff,

       v.
                                                           Case No. 1:24-cv-1857-ACR
FEDERAL DEPOSIT INSURANCE
CORPORATION,

                      Defendant.


                                            ORDER

       This Order vacates, supplements, and updates the Order that the Court entered on January

24, 2025, Dkt. 29.

       On January 22, 2025, the Court held a status conference in this matter. At that

conference, the Court reviewed communications sent by Michael B. Williams, including text

messages sent to the personal cell phone of FDIC counsel of record in this case and text

messages to the personal cell phone of counsel’s family member. In light of those messages and

other harassing and threatening conduct discussed at the January 22, 2025 conference, the Court

found that Mr. Williams made threatening communications to FDIC counsel and a family

member of FDIC counsel. The Court then entered the Order, directing Mr. Williams to not

contact FDIC counsel of record in this matter or their family members. Dkt. 29.

       At the Court’s instruction, Plaintiff sent Mr. Williams a copy of the January 24, 2025

Order on or about January 25, 2025. In response, Mr. Williams sent an email to hundreds of

individuals at the workplace of the FDIC counsel’s family member he had texted earlier. In the

email, Mr. Williams made disparaging comments about FDIC counsel and his family member.




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       Mr. Williams also stated in the email that the Court entered the January 24 Order without

permitting him a chance to respond. To address this, the Court hereby revises its Order as

follows:

       The Court hereby ORDERS that Michael B. Williams is to have no contact with FDIC

counsel of record in this case or their family members, including but not limited to:

   -   Telephone communications;

   -   Text messages;

   -   Email communications;

   -   Mailed or hand-delivered communications, including but not limited to packages;

   -   Social media interaction; or

   -   Contact through any of the above methods, directly or indirectly, through a third party.

   -   In person-contact or contact with real or personal property belonging to, occupied by, or

       otherwise associated with FDIC counsel of record;

       This Order is effective immediately.

       This Order is in effect until February 17, 2025. The Court ORDERS that Mr. Williams

is permitted to intervene in this matter for the sole purpose of addressing this Order. If he wishes

to intervene, he must do so within twenty-one days, i.e., by February 17, 2025. The Court may

shorten or lengthen the duration of this Order depending on future events, including whether Mr.

Williams intervenes.




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       The Court will serve this Order today, with a copy to counsel for the parties, on Michael

B. Williams via electronic-mail at Michael.williams@glexia.com, the electronic-mail address he

provided in the email he sent to FDIC counsel’s family member and her employer and

colleagues.



                                                           _______________________
 Date: January 27, 2025                                    Ana C. Reyes
                                                           United States District Judge




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